Case 1:04-cv-01342-.]DT-STA Document 44 Filed 08/30/05 Page 1 of 2 Page|D 31

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FoR THE WESTERN DIsTRICT or TENNESSEE 930
EASTERN DIVIsIoN , _g;; 7 4/7/ .

DWIGHT B. WALKER, personal
representative of the Estate of
WILLIE MAE WALKER,

 

Plaintiff,
vs. NO.: 04-1342-T-An

GREYHOUND BUS LINES, et al.,

VV\_/‘_/\_/W\_/\./\-/\_/\_J

Defendants.

 

ORDER GRANTING .IOINT MOTION TO CONTINUE SCHEDULING CONFERENCE

 

Before the Court is a Joint Motion to Continue Case Management Conference set for
August 30, 2005 at 10:00 a.m. Because this case is one of seven pending in federal courts arising
out of an accident in Iackson, Tennessee on August 6, 2004, the parties have requested that the
Scheduling Conference be continued until such time as three of the cases can be transferred to
this Court. Therefore, it is Ordered that the August 30, 2005 Scheduling Conference is
continued The Court Wiil reschedule the Scheduling Conference by Separate order.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: £(/Mj 30, Z»OOJ/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 1:04-CV-01342 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

